      Case 2:23-cv-00481-DJC-DB Document 22 Filed 06/28/24 Page 1 of 1


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 8                                           UNITED STATES DISTRICT COURT

 9                                  FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    WILLIE LEE BROOKS, II,                               No. 2:23-cv-0481 DJC DB P
12                              Plaintiff,
13               v.                                        ORDER
14    GAVEN NEWSOM, et al.,
15                              Defendants.
16

17             Plaintiff, a state prisoner proceeding pro se, has requested that this action be dismissed

18   (ECF No. 21). Pursuant to Fed. R. Civ. P. 41(a), plaintiff’s request shall be honored.

19             Accordingly, IT IS HEREBY ORDERED that

20             1. The findings and recommendations issued March 5, 2024 are vacated;

21             2. Plaintiff’s motion to dismiss this case (ECF No. 21) is granted; and

22             3. This action is dismissed.

23   Dated: June 27, 2024

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28   DLB:9/DB prisoner inbox/civil rights/R/broo0481.59

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